Case 3:17-cv-00621-KAD Document 1-6 Filed 04/13/17 Page 1 of 2




                  EXHIBIT D
                    Part 1
              Case 3:17-cv-00621-KAD Document 1-6 Filed 04/13/17 Page 2 of 2


      The                                                                                   Post Office Box 2000
Rawlings Companyuc                                                                LaGrange, Kentucky 40031-2000
Subrogation Dirisbn
                                                                                              One Eden Parkway
                                                                                  LaGrange, Kentucky 40031-8100

                                                                                        Telephone (502) 587-1279


                                            December 04, 2015

Mr. Sean Hammil
Carter Mario
3543 Main Street
Bridgeport, CT 06606

Re:         Our Client:        Aetna
            Member/Patient:    NELLINA GUERRERA/NELLINA GUERRERA
            Date of Loss:      2/20/2015
            Our Reference No.: 68528002

Dear Mr. Hammil:

        It is my understanding that you are disputing our client's recovery rights in this matter. As you know,
your client's health claims were paid by a Medicare Advantage (MA) Plan. It is our position that the MA
plan is entitled to recover in this matter. Attached is The Rawlings Company's position regarding recovery
rights of MA Plans.

            Please contact me to resolve this lien.


                                           Sincerely,




                                           Kevin E. James J.D.
                                           Subrogation Analyst
                                           (502) 716-6980
                                           FAX: (502) 565-1586
                                           kejl@rawlingscompany.com
